 Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 1 of 50 PageID #:12927




                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

PEERLESS INDUSTRIES, INC.,              )
                                        )
           Plaintiff,                   )
                                        )   Case No. 14 C 6949
           V.                           )
                                        )   Judge Joan H. Lefkow
CRIMSON AV LLC,                         )
                                        )
           Defendant.                   )


                              JURY INS"' RUCTIONS
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 2 of 50 PageID #:12927




Instruction No. 38: Functions Of The Court And The Jury
      Members of the jury, you have seen and heard all the evidence and heard

the arguments of the attorneys. Now, I will instruct you on the law.


      You have two duties as a jury. Your first duty is to decide the facts from

the evidence in the case. This is your job, and yours alone.


      Your second duty is to apply the law that I give you to the facts. You

must follow these instructions, even if you disagree with them. Each of the

instructions is important, and you must follow all of them.


      Perform these duties fairly and impartially. Do not allow sympathy or

prejudice to influence you. You should not be influenced by any person's race,

color, religion, national ancestry, or sex.


      Nothing I say now, and nothing I sai.d or did during the trial, is meant to

indicate any opinion on my part about what the facts are or about what your

verdict should be.




                                          2
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 3 of 50 PageID #:12927




Instruction No. 39: Evidence
      The evidence consists of the testimony of the witnesses, the exhibits

admitted in evidence, and stipulations. If a document was admitted in evidence

or used without objection, it is in evidence.


      A stipulation is an agreement between both sides that certain facts are

true or that a person would have given certain testimony




                                         3
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 4 of 50 PageID #:12927




Instruction No. 40: Deposition Testimony
      During the trial, certain testimony was presented to you by video. You

should give this testimony the same consideration you would give it had the

witness appeared and testified here in court.




                                        4
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 5 of 50 PageID #:12927




Instruction No. 41: What Is Not Evidence
        Certain things are not to be considered as evidence. I will list them for

you:


        First, if I told you to disregard any testimony or exhibits or struck any

testimony or exhibits from the record, such testimony or exhibits are not

evidence and must not be considered.


        Second, anything that you may have seen or heard outside the

courtroom is not evidence and must be entirely disregarded.


        Third, questions and objections or comments by the lawyers are not

evidence. Lawyers have a duty to object when they believe a question is

improper. You should not be influenced by any objection, and you should not

infer from my rulings that I have any view as to how you should decide the

case.


        Fourth, the lawyers' opening statements and closing arguments to you

are not evidence. Their purpose is to discuss the issues and the evidence. If the

evidence as you remember it differs from what the lawyers said, your memory

is what counts.




                                         5
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 6 of 50 PageID #:12927




Instruction No. 42: Note-Taking
      Any notes you have taken during this trial are only aids to your memoly.

The notes are not evidence. If you have not taken notes, you should rely on

your independent recollection of the evidence and not be unduly influenced by

the notes of other jurors. Notes are not entitled to any greater weight than the

recollections or impressions of each juror about the testimony.




                                        6
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 7 of 50 PageID #:12927




Instruction No. 43: Weighing The Evidence
      You should use common sense in weighing the evidence and consider the

evidence in light of your own observations in life.


      In our lives, we often look at one fact and conclude from it that another

fact exists. In law we call this "inference." A jury is allowed to make reasonable

inferences. Any inference you make must be reasonable and must be based on

the evidence in the case.




                                         7
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 8 of 50 PageID #:12927




Instruction No. 44: Burden Of Proof
      When I say a particular party must prove something by "a preponderance
of the evidence," or when I use the expression "if you find," or "if you decide,"
this is what I mean: When you have considered all the evidence in the case,
you must be persuaded that it is more probably true than not true.




                                        8
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 9 of 50 PageID #:12927




Instruction No. 45: Clear And Convincing Evidence

      When I say that a particular party must prove something by "clear and
convincing evidence," or when I use the expression "if you find," or "if you
decide," this is what I mean: When you have considered all of the evidence, you
are convinced that it is highly probable that it is true.




                                          9
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 10 of 50 PageID #:12927




 Instruction No. 46: Definition Of "Direct" And "Circumstantial" Evidence

       You may have heard the phrases "direct evidence" and "circumstantial
 evidence." Direct evidence is proof that does not require an inference, such as
 the testimony of someone who claims to have personal knowledge of a fact.
 Circumstantial evidence is proof of a fact, or a series of facts, that tends to
 show that some other fact is true.
       As an example, direct evidence that it is raining is testimony from a
 witness who says, "I was outside a minute ago and I saw it raining."
 Circumstantial evidence that it is raining is the observation of someone

 entering a room canying a wet umbrella.
       The law makes no distinction between the weight to be given to either
 direct or circumstantial evidence. You should decide how much weight to give
 to any evidence. In reaching your verdict, you should consider all the evidence
 in the case, including the circumstantial evidence.




                                         10
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 11 of 50 PageID #:12927




Instruction No. 47: Absence Of Evidence
       The law does not require any party to call as a witness every person who
might have knowledge of the facts related to this trial. Similarly, the law does
 not require any party to present as exhibits all papers and things mentioned
 during this trial.




                                       11
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 12 of 50 PageID #:12927




 Instruction No. 48: Number Of Witnesses
       You may fmd the testimony of one witness or a few witnesses more

 persuasive than the testimony of a larger number. You need not accept the

 testimony of the larger number of witnesses.




                                        12
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 13 of 50 PageID #:12927




 Instruction No. 49: Translated Language

       A witness may require an interpreter to communicate in English to you

 and the Court. You should consider only the evidence provided through the

 official interpreter. Although some of you may know Mandarin Chinese, it is

 important that all jurors consider the same evidence. Therefore, you must base

 your decision on the evidence presented in the English translation.




                                        13
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 14 of 50 PageID #:12927




Instruction No. 51: The Patent System
       At the beginning of the trial, I gave you some general information about
 patents and the patent system and a brief overview of the patent laws relevant
 to this case. I will now give you more detailed instructions about those aspects
 of patent law that specifically relate to this case.




                                           14
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 15 of 50 PageID #:12927




Instruction No. 52: The Parts Of A Patent
      A patent includes two basic parts: a written description of the invention,
and the patent claims. The written description, which may include drawings, is
often called the "specification" of the patent.
      You have been provided with a copy of the '850 patent. Please look at the
patent as I identify its different sections.
      The first page of the patent provides identifying information, including
the date the patent issued and patent number along the top; the names of the
inventors, the filing date, the assignee, which is the company or individual that
currently owns the patent; and a list of the prior art publications considered in
the Patent Office during the time the patent was being sought.
      The specification of the patent begins with a brief statement about the
subject matter of the invention, which is called an abstract. This is found on
the first page.
       Next, are the drawings, which appear as Figures 1 to 11 on the next 8
pages. The drawings depict various aspects or features of the invention. They
are described in words later in the patent specification.
       The written description of the invention appears next. In this portion of
the patent, each page is divided into two columns, which are numbered at the
top of the page. The lines on each page are also numbered. The written
description of the patent begins at column 1, line 1, and ends at column 6, line
44. It includes a background section, a summary of the invention, a detailed
description of the invention, including some specific examples.


                                           15
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 16 of 50 PageID #:12927




       The written description is followed by one or more numbered paragraphs,
 which are called the claims. The claims may be divided into a number of parts,
 which are called "claim limitations" or "claim requirements." In the patent, the
 claims begin at column 6, line 45 and continue to the end of the patent,
 column 8, line 52.




                                        16
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 17 of 50 PageID #:12927




 Instruction No. 53: The Patent Claims
          The claiins of a patent are the numbered paragraphs at the end of the
 patent. The claims describe what the patent owner may prevent others from
 doing.

          Claims are usually divided into parts, called "limitations" or
 "requirements." For example, a claim that covers the invention of a table may
 describe the tabletop, four legs and glue that holds the legs and the tabletop
 together. The tabletop, legs and glue are each a separate structural limitation
 or requirement of the claim.

          We are concerned with claims 1-7 and 9-11 of the '850 patent. Crimson
 contends that claim s 1-7 and 9-11 are invalid.

          In deciding a challenge to the validity of a patent, you must compare the
 claims of the patent to the asserted prior art. In reaching your determinations
 with respect to invalidity, you must consider each claim of the patent
 separately.




                                          17
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 18 of 50 PageID #:12927




Instruction No. 54: Willful Infringement
      Peerless contends that Crimson willfully infringed Peerless's patent.

Although I have already decided that Crimson infringed claims 1-7 and 9-11 of

Peerless's patent, not all infringement is willful.


      To succeed on its contention that Crimson willfully infringed the patent,

Peerless must prove by a preponderance of the evidence that Crimson's

infringement was willful.


      If you find that Crimson knew that it was infringing the patent, or that

the risk of infringement was so obvious that it should have been known to

Crimson, and not simply that Crimson was aware that its product was the

same as the patented device, then you may find that Crimson willfully infringed

the patent.




                                          18
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 19 of 50 PageID #:12927




 Instruction No. 55: Plaintiffs Exhibit No. 36

       During Peerless's direct examination of John Potts, Counsel for Peerless
 marked a recently purchased Crimson F63 mount as Plaintiffs Exhibit No. 36
 and incorrectly referred to that mount as "one of the mounts that's been found
 to infringe the patent in this case." Crimson, however, has redesigned the F63
 mount and the redesigned version does not infringe the '850 patent. Peerless
 has substituted the historical F63 mount as Plaintiffs Exhibit No. 36.




                                         19
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 20 of 50 PageID #:12927




Instruction No. 56: Validity - General

       Crimson has challenged the validity of the '850 patent claims on the

 grounds that 1) the claims are obvious; 2) the claim s are anticipated by the

prior art; and 3) Peerless failed to disclose the best mode of practicing the

 invention.


       Each of the claims of the '850 patent is presumed to be valid. For that

 reason, Crimson has the burden of proving invalidity by clear and convincing

 evidence. "Clear and convincing" evidence has the same definition that I just

 provided to you.


       You must evaluate and determine separately the validity of each claim of

 the patent.




                                         20
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 21 of 50 PageID #:12927




Instruction No. 57: Invalidity - Specification Requirements
      The patent law contains certain requirements for a patent specification.

Crimson contends that claims 1-7 and 9-11 are invalid because the

specification fails to satisfy the law's best mode requirement.

       If you find that Crimson has proved by clear and convincing evidence

that this requirement is not met for an asserted claim, then that claim is

invalid. I will now explain to you in detail the specification requirement that

Crimson says makes the patent claims invalid.

       To establish invalidity for failing to disclose the best mode, Crimson must

show that the inventors possessed a best mode of practicing the claimed

invention at the time of filing and that the inventors concealed the best mode of

practicing from the public.

       The first determination requires inquiry into the inventor's subjective

preference for a best mode of practicing the invention at the time the first

 application for the patent was filed. The second determination requires an

 objective inquiry into whether the inventor concealed the best mode of

 practicing the invention from the public.

       There is no duty to supplement or amend a patent application to

 describe a best mode identified after the filing date of the application for a

 patent.




                                        21
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 22 of 50 PageID #:12927




Instruction No. 58: Section 102 And 103 Defenses - Defmition Of "Prior Art"
       In addressing some of Crimson's invalidity defenses, you will have to
consider what is disclosed in the "prior art."

       The parties dispute that certain items and references are prior art.

       Before you may consider any disputed item or reference as prior art,
 Crimson must prove by clear and convincing evidence that the item or
 reference was any one of the following:

       -     known of, or used by, someone else in the United States before the
             date of invention, unless the knowledge or use was private or
             secret;
       -     in public use or on sale in the United States more than one year
             before the patent application was filed;
             patented by someone else before the date of invention or more than
             one year before the patent application was filed;
             described in a publication before the date of invention or more
             than one year before the patent application was filed;
             described in a published patent application filed in the United
             States or in a foreign country before the date of invention.




                                           22
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 23 of 50 PageID #:12927




 Instruction No. 59: Section 102 Defenses - Prior Art - Definitions
       A.    "date of invention"

       The term "date of invention," as used in the previous instruction, means
 the date the patent application for the '850 patent was filed, that is, October
 14, 2005, unless Peerless proves by a preponderance of the evidence that t.he
 invention was conceived and actually reduced to practice at an earlier date. An
 invention is "conceived" when the inventor has formed the idea of how to make
 and use every aspect of the claimed invention. An invention is "actually
 reduced to practice" when it is made or when the inventor determines that it
 will work for its intended purpose.

       B.     "on sale"

       A product is "on sale," as that term is used in these instructions, if it was
 the subject of a commercial offer for sale in the United States more than one
 year before the patent application date and if, at that time, there was a reason
 to believe that the product would work for its intended purpose. A single offer
 to sell, primarily for profit, rather than for experimental purposes, is sufficient,
 even if no actual sale was made.

       C.     "publication"

       To qualify as a "publication," as that term is used in these instructions,
 the reference must be disseminated or reasonably accessible to persons
 interested the field of the invention.




                                          23
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 24 of 50 PageID #:12927




 Instruction No. 60: Section 102 Defenses - Elements

        A patent claim is invalid if the invention it describes is not new. If there
 is "prior art" that already shows the same invention covered by a patent claim,
 then the claim is invalid because it is "anticipated" by the prior art.

       Crimson contends Peerless's claims 1-7 and 9-11 of the '850 patent are
 invalid because they are anticipated by prior art.

       To succeed on this contention, Crimson must prove two things by clear
 and convincing evidence as to each particular claim you are considering:

       1.    All of the requirements of the claims you are considering are
             expressly stated or inherent in a single item of prior art; and

       2.    A person of ordinary skill in the field of the invention, looking at
             the single prior art item, would be able to make and use the
             invention disclosed in the patent claim without an unreasonable
             amount of experimentation.              Whether the amount of
             experimentation is unreasonable depends on the complexity of the
             field of the invention and the level of expertise and knowledge of
             persons of ordinary skill in that field. If you find that Crimson has
             proved both of these by clear and convincing evidence as to a
             particular patent claim, then you must find for Crimson on that
             patent claim.




                                         24
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 25 of 50 PageID #:12927




 Instruction No. 61: Independent And Dependent Claim s
       Patent claims may exist in two forms, called independent claims and
 dependent claims. An independent claim stands on its own and does not refer
 to any other claim of the patent. A dependent claim refers to at least one other
 claim in the patent. A dependent claim includes each of the requirements of the
 other claim to which it refers, as well as the requirements in the dependent
 claim itself.

       Earlier I described a hypothetical patent claim for a table that described
 the tabletop, four legs, and glue to hold the legs and tabletop together. That is
 an example of an independent claim In that same hypothetical patent, a
 dependent claim might be one that stated, "the same table in the initial claim,
 where the table top is square."




                                        25
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 26 of 50 PageID #:12927




Instruction No. 62: Obviousness

      Crimson contends that claims 1-7 and 9-11 of Peerless's patent are
invalid because they are obvious.

        To succeed on this contention, Crimson must prove by clear and
 convincing evidence as to the particular claim you are considering that a
 person of ordinary skill in the field of the invention, who knew about all the
 prior art existing at the time the invention was made, would have come up with
 the invention at that time Unlike anticipation, obviousness may be shown by
 considering two or more items of prior art in combination.

       In deciding obviousness, you should put yourself in the position of a
 person with ordinary skill in the field at the time of the claimed invention. You
 must not use hindsight; in other words, you may not consider what is known
 now or what was learned from Peerless's patent. In addition, you may not use
 Plaintifrs patent as a roadmap for selecting and combining items of prior art.

       In deciding obviousness, you may also consider whether a person of
 ordinary skill in the field would have been discouraged from following the path
 the inventor took, keeping in mind that Peerless is not required to show such
 discouragmg factors.

        In making your decision regarding obviousness, you should consider the
 following:

       1.    The scope and content of the prior art. You may consider prior art
             that was reasonably relevant to the problem the inventor faced,
             including prior art in the field of the invention and prior art from
             other fields that a person of ordinary skill would consider when
             attempting to solve the problem.

       2.    Any differences between the prior art and the invention in the
             patent claim.


                                        26
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 27 of 50 PageID #:12927




     3.    The level of ordinary skill in the field of the invention at the time of
           the invention.

     4.    Any of the indications of non-obviousness described in the next
           instruction that are shown by the evidence.




                                       27
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 28 of 50 PageID #:12927




 Instruction No. 63: Obviousness - Additional Factors Indicating Non-
 Obviousness
       In deciding obviousness you should consider any of the following factors
 that, if present in the case, may indicate the invention was not obvious.

             the invention achieved commercial success, so long as the
             commercial success resulted from the claimed invention, rather
             than from something else, such as innovative marketing:

             the invention satisfied a long-felt need;

             others failed in attempting to make the invention;

       -     others copied the invention;

             the invention achieved unexpected results;

             Crimson or others in the field praised the invention;

       -     others sought or obtained rights to the patent from the patent
             holder;

       -     experts or other persons of ordinary skill in the field of the
             invention expressed surprise at the making of the invention; or

       -     the inventors proceeded contrary to accepted wisdom.

       Not all of these factors need be present. No single factor is more or less
 important than the others. These factors are merely to assist you in
 considering the question of obviousness.




                                         28
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 29 of 50 PageID #:12927




 Instruction No. 64: Obviousness - Combining Of Prior Art References
       Because most inventions are built on prior knowledge, the fact that each
 of the elements of the claim may be found in prior art is not enough, by itself,
 to prove obviousness. In determining whether Crimson has proved
 obviousness, you may combine multiple items of prior art only if there was an
 apparent reason for a person of ordinary skill in the field to combine them in
 the same way as in Peerless's claimed invention. In deciding this, you may
 consider, among other things, any of the following factors:

             what the prior art suggests about combining;
       -     the knowledge possessed by persons who had ordinary skill in the
             field of the invention at the time; and
       -     the effects of market pressures and design needs that existed at
             the time; and
       -     the number of identified and predictable solutions for those market
             pressures and design needs.




                                         29
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 30 of 50 PageID #:12927




Instruction No. 65: Person Of Ordinary Skill
       Some issues in patent cases are determined by reference to a "person of
ordinary skill in the field of the invention," a term that I have used and will use
later in these instructions. In this case, the field of the invention is bracket
design for television mounts.

       It is up to you to decide the level of ordinary skill. In making this
 decision, you should consider all the evidence, including:

       -    the levels of education and experience of persons working in the
            field;
            the types of problems encountered in the field; and
       -    the sophistication of the technology in the field.




                                        30
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 31 of 50 PageID #:12927




Instruction No. 66: Invalidity - Anticipation
       Crimson contends that the invention covered by claims 1-7 and 9-11 of
the '850 patent is not new because it was "anticipated" by the prior art. "Prior
art," in general, includes anything that was publicly known prior to Peerless's
invention.

       To prove that a claim is anticipated by the prior art, Crimson must prove
by clear and convincing evidence that each and every requirement of the claim
is present in a single item of prior art and that a person with an ordinary level
of skill in the field of the invention who looked at the prior art would have been
able to make and use the invention disclosed in the claim




                                        31
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 32 of 50 PageID #:12927




 Instruction No. 67: Damages - General
       If you fmd that Crimson has not shown by clear and convincing evidence
 that the claims of the '850 patent are invalid, then you must determine the
 amount of damages to award to Peerless as a result of Crimson's infringement.
 If, on the other hand, you fmd that Crimson has proved by clear and
 convincing evidence that each patent claim is invalid, then you will not award
 damages based on infringement.


       I will now instruct you about the measure of damages. By instructing
 you on damages, I am not suggesting which party should win on any issue. If
 you fmd in favor of Peerless on the issue of invalidity, you are to award Peerless
 damages adequate to compensate Peerless for infringement. The damages you
 award are intended to compensate the patent holder, not to punish the
 infringer. Peerless must prove damages by a preponderance of the evidence.




                                         32
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 33 of 50 PageID #:12927




Instruction No. 68: Reasonable Royalty

      Peerless seeks to recover as its damages a reasonable royalty.


      A royalty is a payment made to the owner of a patent by someone else so

that he can make the patented invention. A "reasonable royalty" is the amount

Peerless and Crimson would have agreed upon as a royalty at the time

Crimson's infringement began.


       In determining a reasonably royalty, you should assume that Peerless

would have been willing to allow Crimson to make the patented invention and

that Crimson would have been willing to pay Peerless to do so. You should take

into account what Peerless's and Crimson's expectations would have been if

 they had negotiated a royalty and had acted reasonably in their negotiations.

You should assume that both Peerless and Crimson would have believed that

 Peerless's patent was valid and infringed. You should also assume that

 Crimson would have been willing to pay, and Peerless would have been willing

 to accept, the reasonable royalty they negotiated. Your role is to determine

 what Peerless and Crimson would have agreed upon if they had negotiated in

 this manner, not just what either Peerless or Crimson would have preferred.


       In determining a reasonable royalty, you may consider the following

 factors, in addition to any others that are shown by the evidence:


       Royalties that others paid to Plaintiff for the patented invention;

       Royalties that Defendant paid to others for comparable patents;



                                         33
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 34 of 50 PageID #:12927




      Whether Plaintiff had a policy of licensing or not licensing the patents;
      Whether Plaintiff and Defendant are competitors;
      Whether use of the patented invention helps to make sales of other
      products or services;
      Whether the product made using the patent is commercially successful,
      as well as its profitability;
      The advantages of using the patented invention over products not
      covered by the patent;
      The extent of Defendant's use of the patented invention and the value of
       that use to Defendant;
      Any royalty amounts that are customary for similar or comparable
      patented inventions;
      The portion of the profit on sales that is due to the patented invention, as
       opposed to other factors, such as unpatented elements or processes,
       features, or improvements developed by Defendant;
       Expert opinions regarding what would be a reasonable royalty.




                                        34
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 35 of 50 PageID #:12927




Instruction No. 69: Recruirement Of Notice (Claims Involving Products)
       Peerless can recover damages only for infringement that occurred after
 Peerless gave notice of its patent rights. Peerless must prove by a
 preponderance of the evidence that it gave notice.

       There are two ways a patent holder can give notice of its patent rights.

       The first way is to give notice to the public in general, by placing the
 word "patent" or the abbreviation "PAT." with the number of the patent on
 substantially all the products it sold that included the patented invention. This
 type of notice is effective from the date Peerless began to mark in this matmer
 substantially all of its products that included the patented invention.

       The second way to give notice of patent rights is by actually informing
 Crimson that it is infringing a particular patent and identifying the infringing
 product. This type of notice is effective from the time it is given.

       If Peerless did not give notice in either of these ways before filing this
 lawsuit, then Peerless can recover damages only for infringement that occurred
 after it filed the lawsuit, on March 14, 2011.




                                           35
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 36 of 50 PageID #:12927




 Instruction No. 70: Definition Of Trade Secret
       Peerless also claims that Crimson misappropriated its trade secrets.

       Regarding Peerless's trade secret claim, you must first determine
 whether any trade secrets existed. A "trade secret" means information,
 including but not limited to, technical or non-technical data, a formula,
 pattern, compilation, program, device, method, technique, drawing, process,
 financial data, or list of actual or potential customers or suppliers, as to which

       1.     The information is sufficiently secret to derive economic value,
              actual or potential, from not being generally known to other
              persons who can obtain economic value from its use or disclosure;
              and

       2.     Peerless undertook reasonable efforts to maintain the secrecy or
              confidentiality of the information.

       Peerless must prove the existence of its trade secret(s) by a
 preponderance of the evidence. In determining whether specific information is a
 trade secret, you may consider the following factors:

        1.    The extent to which the information was known outside of
              Peerless's business;

       2.     The extent to which it was known by employees and others
              involved in Peerless's business;



                                          36
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 37 of 50 PageID #:12927




       3.    The extent of measures taken by Peerless to guard the secrecy of

             the information;


       4.    The value of the information to Peerless and to its competitors;


       5.    The amount of effort or money expended by Peerless in developing

             the information; and


       6.    The ease or difficulty with which the information could be properly

             acquired or duplicated by others.


       That which is of general knowledge within an industry cannot be a trade

 secret; something which is fully and completely disclosed by a business

 through its catalogs or literature disseminated throughout an industry cannot

 be a trade secret; nor can matters which are readily and completely disclosed

 by the product itself constitute a trade secret.




                                          37
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 38 of 50 PageID #:12927




Instruction No. 71: Trade Secret Misappropriation—Combinations Permitted

      A trade secret can exist in a combination of characteristics and
components, each of which, by itself, is in the public domain, but the unified
process, design and operation of which, in unique combination, affords a
competitive advantage.




                                      38
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 39 of 50 PageID #:12927




 Instruction No. 72: Trade Secret Misappropriation—Reasonable Efforts

       You may determine that Peerless's efforts to maintain the secrecy of its
 technology were reasonable under the circumstances even if Peerless could
 have taken additional precautions. Peerless need not have taken every
 precaution.




                                       39
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 40 of 50 PageID #:12927




Instruction No. 73: Trade Secret Misappropriation—Definition
      If you fmd that Peerless has proven by a preponderance of evidence that

any trade secrets existed, then you must decide whether Crimson

misappropriated the trade secret(s).


      Under the law, misappropriation means acquisition of a trade secret of a

person by another person who knows or has reason to know that the trade

secret was acquired by improper means. Here, "improper means" includes

breach or inducement of a breach of a confidential relationship or other duty to

maintain secrecy or limit use, through electronic or other means. Reverse

 engineering or independent development shall not be considered "improper

 means."


      Misappropriation also means disclosure or use of a trade secret of a

 person without express or implied consent by another person who:


      A.     used improper means to acquire knowledge of the trade secret; or


       B.    at the time of the disclosure or use, knew or had reason to know

             that knowledge of the trade secret was:


             i.    derived from or through a person who utilized improper

                   means to acquire it;


                   acquired under circumstances giving rise to a duty to

                   maintain its secrecy or limit its use; or




                                          40
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 41 of 50 PageID #:12927




     iii.   derived from or through a person who owed a duty to the

            person seelcing relief to maintain its secrecy or limit its use;

            Or


     iv.    before a material change in position, knew or had reason to

            know that it was a trade secret and that knowledge of it had

            been acquired by accident or mistake.
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 42 of 50 PageID #:12927




 Instruction 74: Trade Secret Misappropriation - Burden
       If you fmd that Peerless has proven by a preponderance of evidence that

 it possessed any protectable trade secret(s), then you must decide whether

 Crimson misappropriated Peerless's trade secret(s). It is Crimson's burden to

 prove by a preponderance of evidence that it did not misappropriate Peerless's

 trade secret(s).




                                       42
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 43 of 50 PageID #:12927




 Instruction No. 75: Trade Secret Misappropriation—Use of Each Element Not
 Required

       The user of another's trade secret is liable even if he uses it with

 modifications or improvements upon it effected by his own efforts, so long as

 the substance of the process used by the actor is derived from another's secret.




                                        43
  Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 44 of 50 PageID #:12927




Instruction No. 76: Trade Secret Misappropriation Damages

      If you find

            (a) that Peerless has proved the existence of a trade

            secret(s) and

             (b) Crimson did not prove that it did not misappropriate

            any Peerless trade secret(s),

then you should find in favor of Peerless on this claim and determine what

damages to award.

      If, on the other hand, you find that either

            (a) Peerless did not prove that it had any trade secrets(s), or

            (b) Crimson proved that it did not misappropriate the

            trade secret(s),

then you should find for Crimson.
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 45 of 50 PageID #:12927




Instruction No. 77: Trade Secret Misappropriation—Unjust Enrichment
      If you fmd in favor of Peerless on this claini, you must determine the

amount of Crimson's actual gain as a result of the misappropriation of trade

secret(s). You must start with Crimson's sales of products in which the trade

 secret(s) were used. Peerless has the burden of establishing by a

preponderance of evidence the amount of Crimson's sales. Next, you must

 subtract from those sales all the costs incurred by Crimson that were

 attributable to making the sales. Crimson has the burden of establishing by a

 preponderance of evidence any portion that should be subtracted. The amount

 of money representing unjust enrichment need not be calculated to a

 mathematical certainty; rather, the parties only have to show a reasonable

 basis for their computations. At the same time, your determination should not

 be speculative. It must be based on the evidence in the case.




                                       45
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 46 of 50 PageID #:12927




 Instruction No. 78: Trade Secret Misappropriation—Enhanced Damages
       If you find that Crimson misappropriated Peerless's trade secret(s), you

 may, but are not required to, award enhanced, or punitive, damages if you find

 that Peerless proved by a preponderance of evidence that Crimson willfully and

 maliciously misappropriated Peerless's trade secret(s). If you find that Crimson

 knew that it was misappropriating Peerless's trade secret(s), or was indifferent

 to whether its actions were misappropriation of trade secrets, and not simply

 that Crimson was aware that the information was a trade secret, then you may

 find that Crimson acted willfully.


       The purposes of punitive damages are to punish a defendant for its

 conduct and to serve as an example or warning to Crimson and others not to

 engage in similar conduct in the future.If you find that punitive damages are

 appropriate, then you must use sound reason in setting the amount of those

 damages. Punitive damages, if any, should be in an amount sufficient to fulfill

 the purposes that I have described to you, but should not reflect bias,

 prejudice, or sympathy toward either party. In determining the amount of any

 punitive damages, you should consider the following factors:


          1. the reprehensibility of Crimson's conduct;

          2. the impact of Crimson's conduct on Peerless;

          3. the relationship between Peerless and Crimson;

          4. the likelihood that Crimson would repeat the conduct if an award

             of punitive damages is not made;



                                        46
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 47 of 50 PageID #:12927




          5. Crimson's financial condition;
          6. the relationship of any award of punitive damages to the amount of
             actual harm the Peerless suffered.




                                       47
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 48 of 50 PageID #:12927




 Instruction No. 79: Selection Of Presiding Juror: General Verdict
       Upon retiring to the jury room, you must select a presiding juror. The

 presiding juror will preside over your deliberations and will be your

 representative here in court.

       Forms of verdict have been prepared for you.

       Take these forms to the jury room, and when you have reached

 unanimous agreement on the verdict, your presiding juror will fill in and date

 the appropriate form, and all of you will sign it.




                                          48
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 49 of 50 PageID #:12927




Instruction No. 80: Communication With Court
      I do not anticipate that you will need to communicate with me. If you do

need to communicate with me, the only proper way is in writing. The writing

must be signed by the presiding juror, or, if he or she is unwilling to do so, by

some other juror. The writing should be given to the marshal, who will give it to

me. I will respond either in writing or by having you return to the courtroom so

that I can respond orally. If you send a communication to me, I will inform the

attorneys for the parties and consult with them before I respond to you. In the

meantime, you should continue your deliberations.




                                       49
Case: 1:11-cv-01768 Document #: 610 Filed: 06/24/16 Page 50 of 50 PageID #:12927




 Instruction No. 81: Disagreement Among Jurors
       The verdict must represent the considered judgment of each juror. Your

 verdict, whether for or against the parties, must be unanimous.


       You should make every reasonable effort to reach a verdict. In doing so,

 you should consult with one another, express your own views, and listen to the

 opinions of your fellow jurors. Discuss your differences with an open mind. Do

 not hesitate to reexamine your own views and change your opinion if you come

 to believe it is wrong. But you should not surrender your honest beliefs about

 the weight or effect of evidence solely because of the opinions of other jurors or

 for the purpose of returning a unanimous verdict.


       All of you should give fair and equal consideration to all the evidence and

 deliberate with the goal of reaching an agreement that is consistent with the

 individual judgment of each juror. You are impartial judges of the facts.




                                         50
